     Case 2:21-cv-07074-MRW Document 14 Filed 11/17/21 Page 1 of 2 Page ID #:54



 1

 2

 3

 4

 5

 6

 7

 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10

11

12   ED HULL, an individual,                Case No.: 2:21-cv-07074-MRW
13              Plaintiff,                  Hon. Michael R. Wilner
14      v.
15                                          ORDER FOR DISMISSAL WITH
     KOCHS SANTA FE, LLC, a California      PREJUDICE
     limited liability; and DOES 1-10,
16
                Defendants.                 Action Filed: September 2, 2021
17                                          Trial Date: Not on Calendar
18

19

20

21

22

23

24

25

26
27

28
                                           1
                     [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
     Case 2:21-cv-07074-MRW Document 14 Filed 11/17/21 Page 2 of 2 Page ID #:55



 1         Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2   it, and being fully advised finds as follows:
 3         IT IS ORDERED THAT:
 4         Plaintiff Ed Hull’s action against Defendant Kochs Santa Fe LLC is dismissed with
 5   prejudice. Each party will be responsible for its own fees and costs.
 6

 7

 8

 9
10
     Dated:   November 17, 2021
11                                                       Hon. Michael R. Wilner
                                                         United States District Judge
12

13

14

15

16
17

18

19

20

21

22

23

24

25

26
27

28
                                             2
                       [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
